
Chief Judge Cooke
(dissenting). In my view, when the police approach an individual with a drawn weapon, order him to freeze, and then direct him to lie face down on the ground, they have effected a seizure more intrusive than a traditional stop and frisk. Especially is this so where, as here, the officer states that he made an arrest. Thus, I feel compelled to dissent, for the relevant reasons stated in the dissenting opinion by Mr. Justice Arnold L. Fein at the Appellate Division.
Judges Gabrielli, Jones, Wachtler, Fuchsberg and Meyer concur with Judge Jasen; Chief Judge Cooke dissents and votes to reverse in a memorandum.
Order affirmed.
